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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       CRIMINAL NO. 21-cr-562 (RC)
                                              :
BENJAMIN MARTIN,                              :
                                              :
                       Defendant.             :


                                 NOTICE OF WITHDRAWAL

       The United States of America, through undersigned counsel, hereby informs the Court

that Assistant United States Attorney Andrew J. Tessman, as counsel for the United States, is

terminating his appearance as counsel of record in this matter. All other government counsel

noted on the docket at the time of this filing will remain counsel for the United States


                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              D.C. Bar No. 481052

                                      BY:     /s/ Andrew J. Tessman
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